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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                           )
                                                    )                      Case No. 8:05CR190
                     Plaintiff,                     )
              v.                                    )
                                                    )                            ORDER
TROY VANNORTWICK,                                   )
                                                    )
                     Defendant.                     )




       At the initial appearance of the defendant on the charges contained in the Indictment on file,
the United States moved to detain the defendant without bail pending trial on the basis that he was a
flight risk and a danger to the community. At the time of his initial appearance before the court, the
defendant was in the custody of Nebraska state authorities on state charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Troy Vannortwick pursuant to the Bail Reform Act is
       held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Troy Vannortwick, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an opportunity for
hearing in this matter pursuant to the Interstate Agreement on Detainers, 18 U.S.C. app § 9(2), the
U.S. Marshal is authorized to return the defendant,Troy Vannortwickto the custody of Nebraska state
authorities pending the final disposition of this matter and the U.S. Marshal for the District of
Nebraska is directed to place a detainer with the correctional officer having custody of the defendant.
        August 31, 2004
                                                         BY THE COURT:


                                                         s/ F.A. Gossett
                                                         United States Magistrate Judge
